Case 6:15-cv-00678-ACC-GJK Document 29 Filed 12/02/15 Page 1 of 2 PageID 108



                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION

 STEVEN PAPASIDERO,

        Plaintiff,

 -vs-                                           Case No.: 6:15-CV-678-ORL-22GJK

 XEROX EDUCATION
 SERVICES LLC,

        Defendant.
                                     /


                     JOINT STIPULATION OF DISMISSAL WITH PREJUDICE


          COMES NOW the Plaintiff, Steven Papasidero, and the Defendant, Xerox

Education Services, LLC, and pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), hereby

stipulate to dismiss, with prejudice, each claim and count therein asserted by Plaintiff

against the Defendant in the above styled action, with Plaintiff and Defendant to bear

their own attorney’s fees, costs and expenses.

          Respectfully submitted this 2nd day of December, 2015.

/s/ Tav Gomez                                  /s/ Christine Son, Esq.
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Case 6:15-cv-00678-ACC-GJK Document 29 Filed 12/02/15 Page 2 of 2 PageID 109



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